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            Exhibit E
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                                                                    ADOPTED
October 04, 2016


The Honorable Board of Supervisors                                  BOARD OF SUPERVISORS
                                                                    COUNTY OF LOS ANGELES
County of Los Angeles
383 Kenneth Hahn Hall of Administration                             20 October 4, 2016
500 West Temple Street
Los Angeles, California 90012
                                                                           LORI GLASGOW
Dear Supervisors:                                                        EXECUTIVE OFFICER




                                        NEW LEASE
                              DEPARTMENT OF MENTAL HEALTH
                        3303 NORTH BROADWAY STREET, LOS ANGELES
                                     (FIRST DISTRICT)
                                         (3 VOTES)


SUBJECT

A new fifteen-year lease for approximately 43,307 square feet of office space, and 175 on-site
parking spaces for use by the Department of Mental Health¶s Northeast Mental Health Center.

IT IS RECOMMENDED THAT THE BOARD:
1. Consider the attached Negative Declaration together with the fact that no comments were
received during the public review process, find on the basis of the whole record that the project will
not have a significant effect on the environment, find that the Negative Declaration reflects the
independent judgment of the Board of Supervisors to approve the Negative Declaration, and adopt
the Negative Declaration, find on the basis of the whole record that the project will have no effect on
fish and wildlife, and instruct the Chief Executive Officer or her designee to complete and file the
appropriate determination forms as to the project.

2. Approve and instruct the Chair to sign the lease with OPPIDAN, LLC (Landlord), for the
occupancy of approximately 43,307 square feet of office space, and 175 on-site parking spaces at
3303 North Broadway Street, Los Angeles, for the Department of Mental Health at a maximum first
year rental cost of $2,161,927. The rental and related costs are 100 percent funded from the Mental
Health Services Act, and other State and federal funds.
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3. Authorize the Director of Internal Services, the Landlord or Landlord¶s County-approved vendor, at
the direction of the Chief Executive Office, to acquire telephone, data, and low voltage systems at a
cost not to exceed $1,600,000, which will be paid by the Department of Mental Health via lump sum,
or TESMA financed over a five-year term at a cost not to exceed $31,343 per month, in addition to
the tenant improvement allowances provided under the lease.

4. Authorize and direct the Chief Executive Officer, or her designee, to execute any other ancillary
documentation necessary to effectuate the lease, and authorize and direct the Chief Executive
Officer and the Directors of Mental Health and Internal Services, or their designees, to take actions
necessary and appropriate to implement the project. The lease will be effective upon approval by
the Board of Supervisors, but the term and rent will commence upon completion of the improvements
by the Landlord or Landlord¶s County-approved vendor, and acceptance by the County.


PURPOSE/JUSTIFICATION OF RECOMMENDED ACTION
The proposed lease for approximately 43,307 square feet of office space, and 175 on-site parking
spaces at 3303 North Broadway Street, Los Angeles, will allow the Department of Mental Health
(DMH) to relocate its Northeast Mental Health Center (NMHC), currently located at 5321 Via Marisol,
Los Angeles, and the satellite Wellness Center, currently located at 5564 North Figueroa Street, Los
Angeles. The Child Welfare Division¶s Wraparound Services currently housed at 600 South
Commonwealth Avenue and 3333 Wilshire Boulevard, Los Angeles will also relocate into the same
facility. The new location is strategically situated in the Northeast region of Los Angeles, providing
easy access for DMH clients arriving from Boyle Heights, Mount Washington, Alhambra, Monterey
Park, Echo Park, Highland Park, and Eagle Rock, among other surrounding communities.

The relocation of the NMHC is necessitated by the inadequate office space and parking, and the
need for excessive repairs, improvements, and improved accessibility at the Via Marisol facility. The
Via Marisol and Figueroa Street leases are currently on a month-to-month holdover basis since
November 2011, and May 2014, respectively. The Chief Executive Office (CEO) has been working to
identify a suitable building to house the NMHC for the past six years, but the buildings within the
service area cannot meet the County¶s space needs, i.e., buildings are too small to house the
programs, do not meet the County seismic requirements, have inadequate parking, are not located
near public transportation, or the use is not permitted by local governmental agencies.

The new facility will allow DMH to consolidate locations and programs, which will provide clients
access to a greater variety of direct services and a seamless transition across differing levels of care
within one location. The approval of a new lease will provide adequate space for the NMHC, and
allow leases at the Via Marisol, Figueroa, and Wilshire locations to be terminated upon occupancy of
the new office.

The NMHC staff will provide initial and ongoing psychiatric evaluations, individual and group
psychotherapy, individual rehabilitation, and targeted case management services. The programs to
be offered include the following: Crisis Resolution Services, Prevention and Early Intervention, Full-
Service Partnership II, Older Adult Field-Capable Clinical Services, and Wellness programs.

The facility will also allow DMH to support the additional staffing necessary to assume oversight of
the County¶s Wraparound program in Fiscal Year 2016-17, as directed by the Board of Supervisors.
In addition, the facility will provide office space for DMH staff to support the ³Immersion Strategy´
being implemented to accelerate achievement of the County¶s obligations related to the terms of the
Katie A. Settlement Agreement and Strategic Plan. These programs provide training and coaching,
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quality assurance, and tracking of outcomes, as well as monitoring service provision and service
costs, all designed to support improved service delivery and outcomes for children and youth in the
County¶s welfare system, consistent with the exit conditions of the Katie A litigation.

The facility will house 219 staff serving approximately 3,300 clients. As a result of the Health
Agencies consolidation, this location will include three to six exam rooms for integrated care. The
average number of clients served on-site daily is projected at 190, in addition to services provided in
the field.

Implementation of Strategic Plan Goals
The Countywide Strategic Plan Goal of Operational Effectiveness/Fiscal Sustainability (Goal 1)
directs that we maximize the effectiveness of processes, structure, operations, and strong fiscal
management to support timely delivery of customer-oriented and efficient public services, and the
Goal of Integrated Services Delivery (Goal 3), directs that we maximize opportunities to measurably
improve client and community outcomes and leverage resources through the continuous integration
of health, community, and public safety services. In this case, the County is supporting these goals
by consolidating operations, and improving efficiencies to provide quality information and services to
residents. The proposed new lease is in conformance with the Asset Management Principles, as
outlined in Attachment A.

FISCAL IMPACT/FINANCING

The proposed lease will provide DMH the use of approximately 43,307 square feet of office space,
and 175 on-site parking spaces at a maximum first year rental cost of $2,161,927 which is comprised
of the initial annual basic rent, operating expense rent, and the maximum annual reimbursement of
the Tenant Improvement (TI) allowance, if the entire amount is expended. The County will be
responsible for its electrical, water and natural gas usage costs, janitorial costs estimated at $82,716
annually, and its pro-rata share of the building operating expenses estimated at $254,645 annually,
and property tax increases, if any, to the 2017-2018 base tax year.

Sufficient funding for the proposed lease is included in the Fiscal Year (FY) 2016-17 Rent Expense
budget, and will be charged back to DMH. The lease costs are funded from the Mental Health
Services Act, and other State and federal funds. Attachment B is an overview of the proposed lease
costs.

FACTS AND PROVISIONS/LEGAL REQUIREMENTS

The proposed lease will provide approximately 43,307 square feet of office space, and 175 on-site
parking spaces for NHMC. The proposed lease includes the following provisions:

- A 15-year lease term, which commences upon completion of the improvements by the Landlord
and acceptance by the County.

- A cancellation provision allowing the County to cancel the lease on every lease anniversary after
the 120th month of the lease term, with 180 days prior written notice.

- A modified-gross lease whereby the Landlord is responsible for the operating and maintenance
cost of the building. The County is responsible for its electrical, water and natural gas usage costs,
janitorial costs, and its pro-rata share of the building operating expenses and property tax increases
if any, to the 2017-2018 Base Tax Year, after reassessment of the new building.
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- A non-reimbursable TI allowance of $1,515,745, or $35 per square foot.

- A reimbursable TI allowance of $3,897,630, or $90 per square foot, payable in a lump sum or
amortized over the initial eight-years at an annual interest rate of 6 percent.

- Construction of the TI¶s is subject to Prevailing Wage costs and reporting due to City of Los
Angeles development requirements imposed on the facility.

- Furniture will be purchased through the TI allowance, or by DMH through Internal Services
Department Purchasing.

- Two 5-year options to extend the lease at the same terms and conditions with 180 days prior
written notice by the CEO.

- The rental rate is fixed for the first 36 months, and will increase to $151,574.50 per month on the
37th month, and subject to annual CPI increases after the fourth anniversary over the term, capped
at 3 percent per year.

- Operating expense rent is subject to annual $7,639.32 (3 percent) fixed increases.

- The County has a First Right of Offer to purchase the facility.

The CEO, Real Estate Division staff conducted a survey within the project area to determine the
availability of comparable and more economical sites. Staff was unable to identify any sites in the
survey area that could accommodate this requirement. Based upon said survey, staff established
that the rental range for similar space and terms is between $42 and $66 per square foot per year on
a modified-gross basis, including parking. Even with existing building deficiencies and limited
parking, the rents for the existing NMHC locations are $35 per square foot per year on a modified-
gross basis for both, the Via Marisol and the Figueroa Street facilities. Thus, the fixed annual rental
rate of $36 for the initial 36 months, on a modified-gross basis including parking, for the proposed
lease represents a rental rate within the market range for the area, and the adjusted annual rental
rate of $48 per square foot per year on the fourth year, represents a rate within the 2016 market
range for the area. In addition, the proposed facility is the only viable space for DMH to house the
program within the service area that includes sufficient parking, and is accessible by public
transportation. Attachment C shows County owned or leased facilities in the proximity of the service
area, and there are no suitable County-owned, or leased facilities available for the program.

Construction of the TIs will be completed in compliance with relevant building and construction laws
and regulations. Notification letters advising of the proposed lease have been sent to the City of Los
Angeles, pursuant to Government Code Sections 25351 and 65402.

The proposed lease will provide a central and appropriate location for services, which is consistent
with the County¶s facility location policy, adopted by the Board of Supervisors on July 24, 2012, as
outlined in Attachment D.

County Counsel has reviewed the attached lease and has approved it as to form. The proposed
lease was presented and approved by the Real Estate Management Commission on March 16,
2016.
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ENVIRONMENTAL DOCUMENTATION

The CEO has made an initial study of environmental factors and concluded that the project will have
no significant impact on the environment, and no effect on wildlife resources. Accordingly, a
Negative Declaration has been prepared and a notice posted at the 3303 North Broadway Street
facility as required by the California Environmental Quality Act (CEQA) and the California
Administrative Code, Section 15072. Copies of the completed study, the resulting Negative
Declaration, and the Notice of Intent to Adopt a Negative Declaration as posted are attached. No
comments to the Negative Declaration were received. Upon a finding by the Board that the
proposed lease will have no effect on fish and wildlife, the CEO or her designee will submit a no
effect determination request to the California Department of Fish and Game, and thereafter file the
appropriate determination documentation with the Registrar-Recorder/County Clerk.

IMPACT ON CURRENT SERVICES (OR PROJECTS)

The proposed lease will provide the necessary office space, and parking spaces for this County
requirement. DMH concurs with the proposed recommendation.

CONCLUSION

It is requested that the Executive Office, Board of Supervisors return four originals of the executed
lease, two certified copies of the Minute Order, and the adopted, stamped Board letter to the CEO,
Real Estate Division at 222 South Hill Street, 4th Floor, Los Angeles, CA 90012 for further
processing.

Respectfully submitted,




SACHI A. HAMAI
Chief Executive Officer


SAH:DPH:CMM
TS:NCH:MAC:gw

Enclosures

c:   Executive Office, Board of Supervisors
     County Counsel
     Auditor-Controller
     Internal Services
     Mental Health
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                                                                                                               ATTACHMENT A
                                        DEPARTMENT OF MENTAL HEALTH
                                  3303 NORTH BROADWAY STREET, LOS ANGELES
                                         Asset Management Principles Compliance Form1

 1.

          A    Does lease consolidate administrative functions?2

          B    Does lease co-locate with other functions to better serve clients?2

          C    Does this lease centralize business support functions?2

          D    Does this lease meet the guideline of 200 sq. ft of space per person?2

          E    Does lease meet the 4/1000 sq. ft. parking ratio guideline?2

          F    Does public parking and mass-transit exist to facilitate employee, client and visitor
               access to the proposed lease location?2

2.        Capital

      A        Is it a substantial net County cost (NCC) program? The rental costs are 100%                        X
               funded under the Mental Health Services Act, and other State & federal funds

      B        Is this a long term County program?                                                         X
      C        If yes to 2 A or B is it a capital lease or an operating lease with an option to buy? The           X
               County has the First Right of Offer to purchase the facility.

      D        If no, are there any suitable County-owned facilities available?                                    X
      E        If yes, why is lease being recommended over occupancy in County-owned space?                                X
      F        Is Building Description Report attached as Attachment C?                                    X
      G       Was build-to-suit or capital project considered?                                                     X
3.    Portfolio Management

      A       Did department utilize CEO Space Request Evaluation (SRE)?                                   X
      B       Was the space need justified?                                                                X
      C       If a renewal lease, was co-location with other County departments considered?

      D       Why was this program not co-located?                                                                         X
              1.         The program clientele requires a stand alone” facility.

              2.         No suitable County occupied properties in project area.

              3.    .     No County-owned facilities available for the project.

              4.         Could not get City clearance or approval.

              5.   —    The Program is being co-located.

      E        Is lease a full service lease?2 No, this is a modified-gross lease whereby the                      X
              County is responsible for its electrical, water and natural gas usage costs,
              janitorial costs, and the County’s prorated share of the buildings operating
              expense, including property tax increases.
      F       Has growth projection been considered in space request?                                      X
      G       Has the Dept. of Public Works completed seismic review/approval? No. This is new                         X
              construction.

              1As approved by the Board of Supervisors 1 1/1 7/98

              2If not, why not?
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                                                                                                      ATTACHMENT B

                                          FISCAL IMPACT/FINANCING
                                      OVERVIEW OF THE PROPOSED LEASE


Proposed Lease                           3303 North Broadway Street, Los Angeles

Area (Square Feet)                       43,307 rentable square feet
                                         Fifteen-years, commencing upon Board of Supervisors approval and
Term “‘‘ ears
                     ‘                   County’s acceptance of the TIs
Annual Basic Rent111                     $1,299,210      ($30.00 per sq. ft. annually)
Annual Operating Expense
                                         $254,645        ($5.88 per sq. ft. annually)
Annual Combined Basic Rent
                 .                       $1 553 855     ($35.88 per sq. ft. annually)
and Operating Expense Rent
                                (2)
Annual TI Reimbursement                  $608,072       ($14.04 per sq. ft.)
Maximum First Year Rental
                                         $2,161,927     ($49.92 per sq. ft. annually)
Cost 13)
Base TI Allowance
         .                               $1 515,745     ($35 per sq. ft.)
(non-reimbursable)
Additional TI Allowance                  $3,897,630     ($90 per sq. ft.)
                                                                                          2O
             .                           On every Lease anniversary date after the 1           month upon 180 days
Cancellation
                                         prior written notice
Options to Renew
                                         Two 5-year options upon 180 days written notice
First Right of Offer
                                         County has a First Right of Offer to purchase the facility
Rental adjustment                        Rental rate is fixed for the first 36 months, increased to $151,574.50
                                                            37th
                                         per month on the        month, and subject to annual CPI increases
                                         after the fourth anniversary, capped at 3 percent per year

                                         Operating Expense rent is subject to annual $636.61 (three percent)
                                         fixed increases.

             Total Lease rate to be $2.50/sf per month or $30 per annum.
   (2)
             $3,897,630 represents the maximum amount of reimbursable TI funds available for this project. If this
             entire amount is expended and amortized over 96 months at the proposed rate of 6 percent, the annual
             TI reimbursement will be $608,072 ($14.04 per sq. ft. annually).
   (3)
             Includes first year annual basic rent, operating expense rent, and annual reimbursement of TI
             allowance, if fully utilized.
             Operating Rent is comprised of the following expenses: administrative, accounting, legal, contract services,
             repair and maintenance, common area utilities, taxes, and insurance.
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                                                                                                                             ATTACHMENT C

                                          DEPARTMENT OF MENTAL HEALTH
                             SPACE SEARCH WITHIN A 5-MILE RADIUS OF 5321 VIA MARISOL ROAD
                                    3303 NORTH BROADWAY STREET, LOS ANGELES

                                                                                                                                                 Gross          Sq Ft
 LACO    Facility Name                                Address           City          Zip      Ownership    Bldg_Use          Proprietor         SQFT           Avail
         East Los Angeles Civic Center                4824 Civic        East Los                            Child Day Care    Chief Executive
 A954    -Child Care Center                           Center Way        Angeles       90022    Owned        Center            Office                 6200       None
         Probation East Los Angeles
                                 -                    4849 E Civic      East Los
 4364    Area Office                                  Center Way        Angeles       90022    Owned        Office            Probation             15584       None
                                                                                                            Recreation-
                                                                        East Los                            Gymnasium-        Parks and
 6450    Obregon Gymnasium   -                        4021 E 1st St.    Angeles       90063    Owned        Craft Room        Recreation            11418       None
        DCSS East Los Angeles
                 -                                    133 N Sunol       East Los                                              Community and
 6131   Service Center                                Dr                Angeles       90063    Owned        Service Center    Senior Services       28514       5000
        Centro Maravilla Service                     4716 E Cesar       East Los                            School            Community and
6390    Center Building A
                     -
                                                     E Chavez Ave       Angeles      90022    Owned         Building          Senior Services        6901       None
        Public Library Anthony           -           3965 E Cesar      East Los
X707    Quinn Library                                E Chavez Ave      Angeles       90063    Owned         Library           Public Library         7275       None
        Mental Health Family                 -       4701 E Cesar      East Los                            Mental Health
X514    Resource Center                              E Chavez Ave      Angeles       90022    Leased       Outpatient        Mental Health           6000       None
                                                                                                           Recreation-
                                                     4914 Cesar E      East Los                            Gymnasium-        Parks and
2670    Belvedere Gymnasium      -                   Chavez Ave        Angeles       90022    Owned        Craft Room        Recreation              9276       None
        Belvedere Community      -
                                                                                                           Recreation-
        Building/Park Services                       4914 Cesar E      East Los                            Gymnasium-        Parks and
5976    Bureau                                       Chavez Ave        Angeles       90022    Owned        Craft Room        Recreation             11492       None
        DCFS/LASD/Fire/Ops/ISD                       2525              Monterey                                              Children and
ADiS    Corporate Place                              Corporate P1      Park          91754    Leased       Office            Family Services        29542      None
                                                     1100
                                                     Corporate         Monterey
A327    Office of Managed Care                       Center Dr         Park          91754    Leased       Office            Health Services        14516      None
                                                                                                           Recreation-
                                                     1060 N                                                Gymnasium-
3364    Biscailuz Gymnasium
                         -                           Eastern Ave       Los Angeles   90063    Owned        Craft Room        Sheriff                 9992      None
        Biscailuz Kitchen-                           1060 N
4525    (Closed)/Dining Rooms                        Eastern Ave       Los Angeles   90063    Owned        Classroom         Sheriff                25032      25032
                                                     1060 N
T532    Biscailuz LibraryTrailer
                         -                           Eastern Ave       Los Angeles   90063    Owned        Library           Sheriff                     720    720
                                                                                                           Recreation-
        City Terrace Activities      -               1126 N            East Los                            Gymnasium-        Parks and
4440    Building                                     Hazard Ave        Angeles       90063    Owned        Craft Room        Recreation              6805      None
                                                                                                           Recreation-
        City Terrace Sports          -               1126 N            East Los                            Gymnasium-        Parks and
4441    Shell/Bleachers                              Hazard Ave        Angeles       90063    Owned        Craft Room        Recreation            13737       None
                                                                                                           Recreation-
        City Terrace Park Recreation             -   1126 N            East Los                            Gymnasium-        Parks and
4443    Building/Office                              Hazard Ave        Angeles       90063    Owned        Craft Room        Recreation             7553       None
                                                                                                           Recreation
        CityTerrace Park-                            1126 N            East Los                            Gymnasium-        Parks and
4444    Gymnasium                                    Hazard Ave        Angeles       90063    Owned        Craft Room        Recreation             9476       None
        ISD Administrative
             -
                                                     1100 N
5863    Headquarters                                 Eastern Ave       Los Angeles   90063    Owned        Office            Internal Services     80309       None
        ISD Eastern Complex Project
             -
                                                     1100 N
T061    Management Trailer                           Eastern Ave       Los Angeles   90063    Leased       Office            Internal Services      7200       None
        ISD Eastern Ave Complex
             -
                                                     1102 N                                                Service
5864    Crafts Shops/Warehouse                       Eastern Ave       Los Angeles   90063    Owned        Building          Internal Services    167584       None
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          ISD Eastern Ave Complex
              -
                                                   1110 N
 5870     Telecom Branch Building                  Eastern Ave        Los Angeles    90063    Owned      Office            Internal Services     37742     None
                                                   901
          Sheriff Inspectional Services
                  -
                                                   Corporate          Monterey
 A328     Office                                   Center Dr          Park           91754    Leased     Office            Sheriff                7922     None
          Fire -Administrative                     1320 N
 3542     Headquarters Building                    Eastern Ave        Los Angeles    90063    Owned      Office           Fire Department        39015     None
         Public Library City Terrace  -            4025 E City
 Y307    Library                                   Terrace Dr         Los Angeles    90063    Owned      Library          Public Library          8007     None
                                                   320 W
 0156    Hall of Records                           Temple St          Los Angeles    90012    Owned      Office           District Attorney     438095   50,000
                                                   4500 E City        Monterey
 4512    Sybil Brand Auditorium
                              -                    Terrace Dr         Park           91754    Owned     Auditorium        Sheriff                 8192     8192
                                                                                                        Recreation-
         Sybil Brand Activities
                              -                    4500 E City        Monterey                          Gymnasium-
 4513    Building                                  Terrace Dr         Park           91754    Owned     Craft Room        Sheriff                 5616     5616
         El Pueblo Redevelopment                   501 N Main                                                             Chief Executive
 0143    Property Vickrey Building
                      -
                                                   St                 Los Angeles    90012    Owned     Office            Office                 34350    None
         El Pueblo Redevelopment                   507 N Main                                                             Chief Executive
 0142    Property Plaza House
                      -
                                                   St                 Los Angeles    90012    Owned     Office            Office                 15618    None
                                                   312 5 Hill St
                                                   Grand
                                                   Central                                                                Board of
 A632    Office of Inspector                       Market             Los Angeles    90012    Leased    Office            Supervisors             9782    None
         Kenneth Hahn Hall of                      500 W                                                                  Board of
 0181    Administration                            Temple St          Los Angeles    90012   Owned      Office            Supervisors          958090     None
         Performing Arts Center De            -   301 N Grand                                                             Community and
3155     Lisa Building/The Annex                  Ave                Los Angeles     90012   Owned      Office            Senior Services       27582     None
         Public Health Central Public
                                  -                241 N                                                                  Public Health
5546     Health Center                             Figueroa St       Los Angeles    90012    Owned      Health Center     Program               59290     None
        Health Services                           313 N                                                                   Public Health
5456    Administration Building                   Figueroa St        Los Angeles    90012    Owned      Office            Program              134851     None
        Sheriff- Personnel and                    101 Centre         Monterey
A423    Recruitment Center                        Plaza Dr           Park           91754    Leased     Office           Sheriff                37590     None
        Med Center Interns &  -                   2020 Zonal                                                             LAC÷USC
4946    Residents Building                        Ave                Los Angeles    90089    Owned     Office            Medical Center         79494     None
        Med Center Outpatient -                   2010 Zonal                                                             LAC+USC
4711    Clinic Building                           Ave                Los Angeles    90089    Owned     Skilled Nursing   Medical Center        118898     None
        Med Center General    -
                                                  1200 N State                                         General Acute     LAC÷USC
0835    Hospital (Former Hospital)                St                 Los Angeles    90089    Owned     Hospital          Medical Center        1494627   None*
                                                  1200 N State                                         School            LAC+USC
T540    Med Center Learning Center
                          -                       St                 Los Angeles    90089    Owned     Building          Medical Center          6136    None
        Med Center- Patient                       1200 N State                                                           LAC USC Medical
T542    Financial Services T 5            -       St                 Los Angeles    90089    Owned     Office            Center                 10512    None
        Med Center LAC÷USC-                       1200 N State                                         General Acute     LAC+USC
X609    Inpatient Tower                           St                 Los Angeles    90089    Owned     Hospital          Medical Center        656784    None
        Med Center LAC+USC-                       1200 N State                                         General Acute     LAC+USC
X614    Diagnostic and Treatment                  St                 Los Angeles    90089    Owned     Hospital          Medical Center        407883    None
        Med Center LAC+USC-                       1200 N State                                         General Acute     LAC+USC
X616    Outpatient Tower                          St                 Los Angeles    90089    Owned     Hospital          Medical Center        308298    None
        Med Center Womens and
                          -                       1240 N                                               General Acute     LAC+USC
2484    Childrens Hospital                        Mission Rd         Los Angeles    90089    Owned     Hospital          Medical Center        160181    None
        Med Center Patient-                       1240 N                                                                 LAC÷USC
T546    Financial Services Office                 Mission Rd         Los Angeles    90089    Owned     Office            Medical Center          5190    None
        Med Center Pharmacy
                          -                       1100 N                                                                 LAC+USC
0822    Building                                  Mission Rd        Los Angeles     90089    Owned     Pharmacy          Medical Center        35837     None
        Coroner   -
                                                                                                                         Chief Medical
        Administration/Investigations             1102 N                                                                 Examiner
5260    Building                                  Mission Rd        Los Angeles     90089    Owned     Office            Coroner               22479     None
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             Coroner-Public                                             1104N                                                                   LAC+USC
 0808        Services/Skeleton Store                                    Mission Rd        Los Angeles    90089    Owned    Office               Medical Center    18651    None
             Med Center Building 10/20
                                   -                               -    1237 N                                             Pediatrics           LAC+USC
 6479        Pediatric Clinic                                           Mission Rd        Los Angeles    90031    Owned    Clinic               Medical Center    19927    None
             Med Center- Rand Schrader                                  1300 N                                                                  LAC+USC
 X174        Aids Outpatient Clinic                                     Mission Rd        Los Angeles    90033    Owned    Skilled Nursing      Medical Center    28000    None
             Med Center Phinney Hall
                               -                                        1721 Griffin                                                            LAC+USC
 6477        Cancer Center Building 40     -                            Ave               Los Angeles    90031    Owned    Skilled Nursing      Medical Center    12832    None
            Juvenile Hall Administration
                                   -                                    1605
 3102       Building -4                                                 Eastlake Ave      Los Angeles    90033    Owned    Office              Probation          75907    None
            Juvenile Hall Girls School
                                   -                           -        1605                                               School
 3105       5A                                                          Eastlake Ave      Los Angeles    90033    Owned    Building            Probation          11260    None
            Juvenile Hall Girls School
                                   -                           -        1605                                               School
 3106   -   5B                                                          Eastlake Ave      Los Angeles    90033   Owned     Building            Probation           7483    None
                                                                        1605
 3111       Juvenile Hall Chapel 2 -               -                    Eastlake Ave      Los Angeles   90033    Owned     Chapel/Church       Probation           5094    None
            Juvenile Hall Kitchen/Mess
                                   -                                    1605                                               Kitchen-Dining
3112        HaIl 12A
                   -
                                                                        Eastlake Ave      Los Angeles   90033    Owned     Hall-Cafeteria      Probation          12403   None
            Juvenile Hall Boys School
                                   -                                   1605                                                School
5367        Building -9                                                Eastlake Ave       Los Angeles   90033    Owned     Building            Probation         39017    None
            Juvenile Hall Modular  -                                   1605                                                Pediatrics
T610        Medical Clinic                                             Eastlake Ave      Los Angeles    90033    Owned     Clinic              Probation          5300    None
            Med Center- Carlson Center                                 1764 Sichel                                                             LAC÷USC
A512        Skills LabTraile                                           St                Los Angeles    90031    Owned    Classroom            Medical Center     6256    None
                                                                                                                          Teaching and
            Med Center North Hall
                               -                           -           1739 Griffin                                       Research             LAC+USC
6476        Building 50                                                Ave               Los Angeles    90031    Owned    Clinic               Medical Center     8244    None
            PW Central Yard Division           -                       1525 Alcazar
4799        Administration                                             St                Los Angeles    90033    Owned    Office               Public Works      10438    None
            Med Center- Employees
            Child Care CenterTrailerT-                                 1401 N                                             Child Day Care       LAC+USC
1545        14                                                         Mission Rd        Los Angeles    90031    Owned    Center               Medical Center     5500    None
            DHS -Juvenile Court Health                                                                                    Mental Health        Juvenile Court
X333        Services/Mental Health Clinic                              1925 Daly St.     Los Angeles    90031    Owned    Outpatient         j Health Services    6668    None
            DPSS Lincoln Heights WS
                       -                                               4077 N                                                                  Public Social
C269        District Office                                            Mission Rd        Los Angeles    90032    Owned    Office               Services          26000    None
            DPSS East LA Grow
                       -
                                                                       2200 N                                                                 Public Social
C760        Employment Services Center                                 Humboldt St.      Los Angeles    90031    Leased   Service Center      Services           23655    None
            The Alhambra Complex                       -               1000 S                                                                 Public Health
A469        WestTower                                                  FremontAve        Alhambra       91803    Leased   Office              Program            31299    None
            The Alhambra Complex East                  -               1000 S                                                                 Chief Executive
A471        Tower                                                      Fremont Ave       Alhambra       91803    Leased   Office              Office             31299    None
            Public Library San Gabriel
                                   -                                   5005 Del
5460        Library                                                    Mar Ave           San Gabriel    91776    Owned    Library             Public Library     13718    None
                                                                       200 W
            Probation Central
                           -                                           Woodward
X327        Transcribing Office                                        Ave               Alhambra       91801    Owned    Office              Probation          11273    None
            Mental Health Northeast    -




            Family Mental Health                                       5321 Via                                           Mental Health
B382        Services                                                   Marisol Rd        Los Angeles    90042    Leased   Outpatient          Mental Health       9135    None
                                                                       532 E
                                                                       Colorado                                                               Children and
A426        DCFS Pasadena (SPA 3)
                   -                                                   Blvd              Pasadena       91101    Leased   Office              Family Services    75235    None
            PH Glendale Public Health
               -                                                       501 N                                                                  Public Health
4295        Center                                                     Glendale Ave      Glendale       91206    Owned    Health Center       Program            14422    None
       DPSS Pasadena AP District
                   -             955 N Lake                                                                                                   Public Social
D465   Office                    Ave            Pasadena     91104                                               Owned    Office              Services           36224    None
*
  NO INFORMATION ABOUT WHAT IS USABLE       OLD HOSPITAL BUILDING
     Case 2:18-cr-00331-GW       Document 279-5 Filed 12/12/22           Page 12 of 18 Page ID
                                            #:3933
                                                                             ATTACHMENT D

                          FACILITY LOCATION POLICY ANALYSIS


    Proposed Lease: New Fifteen-Year Lease for the Department of Mental Health                —



    3303 North Broadway Street, Los Angeles 1st District.
                                                —




A.       Establish Service Function Category             —   Regional and local public service
         function.

    B.   Determination of the Service Area           The proposed lease will allow the
                                                     —




         Department of Mental Health (DMH) to consolidate locations, and provide a full
         array of direct and field based mental health services. The facility will provide
         staff with adequate office space for the DMH Northeast Mental Health Center.

C.       Apply Location Selection Criteria to Service Area Data

•        Need for proximity to service area and population:            The relocation and
         consolidation of offices provides convenient accessibility of services to clients in
         the Northeast region of Los Angeles.

•        Need for proximity to existing County facilities: The new location is strategically
         situated in the Northeast region of Los Angeles providing easy access to DMH
         clients arriving from Boyle Heights, Mount Washington, Alhambra, Monterey
         Park, Echo Park, Highland Park, and Eagle Rock, among other surrounding
         communities.

•        Need for proximity to Los Angeles Civic Center: N/A

•        Economic Development Potential: N/A

•        Proximity to public transportation: The NMHC is conveniently located near public
         transportation, i.e., MTA bus service.

•        Availability of affordable housing for County employees: N/A

•        Use of historic buildings: N/A

•        Availability and compatibility of existing buildings: There are no existing County
         buildings available to meet DMH’s service needs.

•        Compatibility with local land use plans: The proposed use is consistent with the
         building’s use, zoning, and not in conflict with the goals and policies of the City of
         Los Angeles. Notification letters have been sent pursuant to Government Code
         Sections 25351 and 65402.
 Case 2:18-cr-00331-GW       Document 279-5 Filed 12/12/22          Page 13 of 18 Page ID
                                        #:3934

      Estimated acquisition/construction and ongoing orerationaI costs: The initial
      annual basic rent of $1,299,210, i.e., $2.50 per square foot per month, the annual
     operating expense rent of $254,645, i.e., $0.49 per square foot per month, plus
     the maximum amortized cost of the additional tenant improvement allowances of
     $3,897,630, comprises the total annual lease costs for the lease facility under
     consideration. Sufficient funding for the proposed lease will be included in the
     Fiscal year (FY) 2016-17 Rent Expense budget and will be charged back to DMH.
     DMH has sufficient funding to cover the proposed lease costs, which are funded
     under the Mental Health Services Act, State and federal funds. In addition,
     telephone, data, and low voltage systems will be installed by Internal Services,
     Landlord or Landlord’s County approved vendor at a cost not to exceed
     $1,600,000 which will be paid by DMH via lump sum, or TESMA financed over a
     five-year term at a cost not to exceed $31,343 per month, in addition to the tenant
     improvement allowances provided under the lease.

D.   Analyze results and identify location alternatives

     Based upon the space and service needs of DMH, CEO staff surveyed the
     immediate area to determine the availability of comparable and more economical
     sites. The proposed facility is the only viable space for DMH to house the
     programs within the service area that includes sufficient parking, and is
     accessible by public transportation.

      Based upon said survey, staff has established that the rental range for similar
     space and terms is between $42 and $66 per square foot per year on a mod ified
     gross basis, including parking. Even with existing building deficiencies and
     limited parking, the rents for the existing NMHC locations are $35 per square foot
     pet year on a modified-gross basis, for both the Via Marisol and the Figueroa
     Street facilities. Thus, the fixed annual rental rate of $36 for the initial 36 months
     on a modified-gross basis, including parking for the proposed lease represents a
     rental rate within the market range for the area, and the adjusted annual rental
     rate of $48 per square foot per year on the fourth year, represents a rate within
     the 2016 market range for the area. The proposed lease was presented and
     approved by the Real Estate Management Commission on March 16, 2016.

E.   Determine benefits and drawbacks of each alternative based upon
     functional needs, service area, cost and other location selection criteria

     The facility provides proper accommodations for staff to provide mental health
     services in the Northeast region of Los Angeles. The lease is in conformance
     with the Asset Management Principles, as outlined in Attachment A. The
     consolidation of facilities at the proposed office will provide a central and
     appropriate location, which is consistent with the County’s facility location policy,
     adopted by the Board of Supervisors on July 24, 2012.
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                                               #:3935
                                                DATE POSTED        —   February 2, 2016

                  NOTICE OF PREPARATION OF NEGATIVE DECLARATION

 This notice is provided as required by the California Environmental quality Act and
 California Administrative Code Title 14 Division 6, Section 15072 (a) (2) B.

 A Negative Declaration has been prepared for this site based on an Initial Study which
 consists of completion and signing of an Environmental Information Form showing
 background information as follows:

 1.         Name of Proponent County of Los Angeles
                                        -




                              Chief Executive Office

 2.         Address/Phone No. 222 South Hill Street, 3td Floor
                                        -




                              Los Angeles, California 90012

                                   Agent              Telephone
                                   MiguelCovarrubias (213) 974-4164

3.          Date Information Form Submitted                —       February 2, 2016

4.      Agency Requiring Information Form                      -   Los Angeles County
                                                                   Chief Executive Office

5.     Address of Facility Involved                —   3303-3331 North Broadway Street, Los
Angeles, CA 90013

6.      Description of Project The leasing of office space in a commercial
                                            -



                               building to be used by the County of Los Angeles,
                               Departments of Mental Health for offices providing
                               services to area residents.

7.      Finding for Negative Declaration               -   It has been determined that this project will
                                                           not have a significant effect on the
                                                           environment.


Interested parties may obtain a copy of the Negative Declaration and the completed
Environmental Information Form/Initial Study by contacting the Real Property Agent
indicated under 2. above and referring to the proposal by name or to the facility by
address.

Si necesita informacion en espanol, por favor de comunicarse con el agente designado,
para asistencia en obtener una traduccion.
               THIS NOTICE WAS POSTED
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Case 2:18-cr-00331-GW             Document 279-5 Filed 12/12/22        Page 15 of 18 Page ID
                                             #:3936
                                   COUNTY OF LOS ANGELES
                                   CHIEF EXECUTIVE OFFICE


                                    NEGATIVE DECLARATION


       I.   Location and Description of the Proiect

The proposed project is for the County of Los Angeles to lease facilities at 3303 -3327
North Broadway Street, Los Angeles, California, which will be used by the Department
of Mental Health for offices providing services to area residents. The facility, located in
the First Supervisorial District approximately 1 mile from the Los Angeles Civic Center,
includes approximately 43,307 square feet of office. The Landlord has no expansion
plans beyond the scope of this project.

 II.        Finding of No Significant Effect

            Based on the attached initial study, it has been determined that the project will
            not have a significant effect on the environment.

III.        Mitigation Measures

            None required.




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 Case 2:18-cr-00331-GW       Document 279-5 Filed 12/12/22         Page 16 of 18 Page ID
                                        #:3937
                                  NEGATIVE DECLARATION

               Department Name:            Mental Health
               Project:                    Northeast Mental Health Clinic and Wrap
                                           Around Administrative Offices

 Pursuant to Section 15072, California Environmental Quality Act and California
 Administrative Code Title 14, Division 6

         Description of Project

        The leasing of existing office space in an existing commercial building to be
        used by the County of Los Angeles, Department of Mental Health providing
        services to area residents.

 2.     a.    Location of Proiect (plot plan attached)

              3303-3331 North Broadway Street, Los Angeles, CA 90013

        b.    Name of Project Proponent

              County of Los Angeles
              Chief Executive Office
              222 South Hill Street, 3rd Floor
              Los Angeles, CA 90012

3.      Finding for Negative Declaration

        It has been determined that this project will not have a significant effect on the
        environment based on information shown in the attached Environmental
        Information Form dated February 2, 2016 which constitutes the Initial Study of
        this project.

4.      Initial Study

       An Initial Study leading to this Negative Declaration has been prepared by the
       Chief Executive Office and is attached hereto.

5.      Mitigation Measures Included in Proiect

       None required.

       Date                        Real Property Agent              Telephone
       February 2, 2016            Miguel Covarrubias               (213) 974-4164


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Case 2:18-cr-00331-GW             Document 279-5 Filed 12/12/22              Page 18 of 18 Page ID
                                             #:3939
   State of California Natural Resources Agency
                     —
                                                                     EDMUND G. BROWN JR.. Governor
   DEPARTMENT OF FISH AND WILDLIFE                                    CHARL TON H. BONHAM, Director
   South Coast Region
   3883 Ruffin Road
   San Diego, CA 92123
   www.wildlife.ca.gov


                   CEQA Filing Fee No Effect Determination
   Applicant Name and Address:
   County of Los Angeles
   Chief Executive Office Real Estate Division
                          -



   222 South Hill Street, 4th Floor
   Los Angeles, CA 90012
  CEQA Lead Agency: County of Los Angeles, Chief Executive Office, Real Estate Division
  Project Name: Northeast Mental Health Clinic and Wrap Around Administrative Offices 3303-   -



  3331 North Broadway Street
  CEQA Document Type: Negative Declaration
  State Clearing House Number and/or local agency ID number: NA
  Project Location: 3303 3331 North Broadway Street
                              -




  Project Description: The proposed project consists of approximately 43,307 sq. ft. of office
  space and 175 site parking spaces for the Department of Mental Health (DMH). The space will
  be used as the DMH Northeast Mental Health Center.




  Determination: Based on a review of the project as proposed, the Department of Fish and
  Wildlife has determined that for purposes of the assessment of CEQA filing fees (Fish and Game
  Code [FGCJ Section 711.4(c)) the project has no effect on fish, wildlife or their habitat and the
  project as described does not require payment of a CEQA filing fee. This determination does not
  in any way imply that the project is exempt from CEQA and does not determine the significance of
 any potential project effects evaluated pursuant to CEQA.
  Please retain this original determination for your records. Local lead agencies are required to file
 two copies of this determination with the county clerk at time of filing of the Notice of
 Determination (NOD) after the project is approved. State lead agencies are required to file two
 copies of this determination with the Office of Planning and Research (State Clearinghouse) at the
 time of filing the NOD. If you do not file a copy of this determination as appropriate with the
 county clerk or State Clearinghouse at the time of filing of the NOD, the appropriate CEQA filing
 fee will be due and payable.
 Without a valid CEQA Filing Fee No Effect Determination form or proof of fee payment, the project
 will not be operative, vested, or final and any local permits issued for the project will be invalid,
 pursuant to FGC Section 711 .4(c)(3).

 DEW Approved By:                                                Scoff P. Harris Date: 02/23/2016
Title: Environmental Scientist


                     Conserving California’s WitdTife Since 1870
